                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION


UNITED STATES OF AMERICA                         )
                                                 )
v.                                               )           No. 3:12-00013
                                                 )           JUDGE CAMPBELL
MANILA VICHITVONGSA, et al.                      )

                                             ORDER

       On or before April 16, 2014, the parties shall file briefs, supplemental jury instructions,

and verdict forms regarding the effect of the decisions in Alleyne v. United States, 133 S.Ct.

2151 (2013) and Rosemond v. United States, 134 S.Ct. 1240 (2014) to this case.

       It is so ORDERED.



                                                     _________________________________
                                                     TODD J. CAMPBELL
                                                     UNITED STATES DISTRICT JUDGE




 Case 3:12-cr-00013        Document 590        Filed 04/02/14      Page 1 of 1 PageID #: 1783
